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   LARS ROBERT ISAACSON
   Hawaii Bar #5314
   1100 Alakea Street, 20th Floor
   Honolulu, Hawai’i 96813
   Phone: 808-497-3811
   Fax: 866-616-2132
   Standby Attorney for Defendant ANTHONY T. WILLIAMS

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK (01)
   AMERICA,
                                       DEFENDANT’S “PRIVATE
          Plaintiff,                   ATTORNEY GENERAL
                                       Anthony Williams MOTION
         v.                            FOR JUDGMENT OF
                                       ACQUITTAL;” DECLARATION
                                       OF COUNSEL; EXHIBITS “A”
   ANTHONY T. WILLIAMS,                and “B;” CERTIFICATE OF
                                       SERVICE
          Defendant.


      DEFENDANT’S “PRIVATE ATTORNEY GENERAL Anthony
        Williams MOTION FOR JUDGMENT OF ACQUITTAL”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides “PRIVATE ATTORNEY GENERAL Anthony Williams

   MOTION FOR JUDGMENT OF ACQUITTAL;” Declaration of

   Counsel, Exhibits “A” and “B” and Certificate of Service.
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      Dated: March 15, 2020




                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
